Case 2:20-cv-11718-GAD-DRG ECF No. 43-22, PagelD.1058 Filed 01/31/22 Page 1 of

HIBIT 18

 

Vike Weems

  
 
 
  
  

 

From 22h Aosicnaud
Sanz Towrsczy, March 7, 2019 10:11AM
r= == \.unemmed
a =i -= 2 from Student Affairs
From Asceees Gar
Seam Geese Meee Gs, 2525 Fo PM
For Lees Setar <a Smed.weyne.edu>
Sesyect G6 Stee Ga Startecr AZek=
ws ’ fetes
Smaart 77 Temes t7=2t | orought up to you and Dr. Chadwell last Wednesday, the two of you said that it
PUD coctect O+ Sexerto see if he would meet with me. | have many questions, some of them are:

ae to presenta cater case, and ten days is simply not enough time for me to
ia! amstill = everything that has happened in the past few weeks and

<s cof this specific case, and see if he can inform me on any deliberations that the
2d< when they decided to dismiss me. | still do not understand why they came to this
)t feast deserve an explanation as the dismissal letter did not state what specific
‘ould like to know what he thought of my statements and the plan that | committed

 

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the university is Dr. Whitfield, yet the letter | received says to go through Dr. Ellis. |
va = witty & Zoes to him and not the main provost for the university. | would prefer for the
metetes tease = De WWrdte'd to review this appeal if It comes to that.

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= can answer. Even if he cannot comment directly on this case, | would like to know
25 he overturned something like this to help me make a decision.

& |S 2eces! = om]ec tom ths crovosi, ! would still like the option to withdrawal that he gave me in his letter.
Wet Tevet Secc=t whatic do yet, | feel as though | MUST appeal even if there is a 1% chance of it working,
$3 weet to Soe hams Sor this ociion.

> aepoic Wee “> ce S50uc T= mossibility of transferring, or maybe taking some time off while | receive treatment

<.| don’t understand why he would refuse to meet with me for a conversation, !
ntto meet with you Ms. Robichaud, if you have time tomorrow? | don’t fully
formation about it. | was also told my Ms. Muhammed that! should meet
zs | have never done so before.

  
   

WSU / Eid 000501
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Senc 7 75,2 3:49:59 PN
SatecS = Stus= Te
Decor Sao s2¢ S07 = copy of en email that you sent to Dr. Baker. Please clarify what questions you were referring

to" | Sige questiees Inet my counselor was not able to answer’ ? Sincerely, Mrs. Robichaud

WSU / Eid 000502
